
668 S.E.2d 567 (2008)
STATE of North Carolina
v.
Karshia Bliamy LY and Jeffrey Xiong.
No. 200P08.
Supreme Court of North Carolina.
October 9, 2008.
Daniel Pollitt, Assistant Appellate Defender, for Ly &amp; Xiong.
*568 Creecy Chandler Johnson, Harriet F. Worley, Assistant Attorney Generals, John Snyder, District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 658 S.E.2d 300.

ORDER
Upon consideration of the petition filed on the 28th day of April 2008 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th day of October 2008."
